              Case 4:09-cr-00043-SPF Document 337 Filed in USDC ND/OK on 04/28/10 Page 1 of 6
 ~AO   245B     (Rev. 09/08) Judgment in a Criminal Case
                Sheet I



                                           UNITED STATES DISTRICT COURT
                       NORTHERN                                   District of                              OKLAHOMA
           UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                               v.
              LINDSEY KENT SPRINGER                                       Case Number:                     09-CR-043-00 I-SPF
                                                                          USMNumber:                       02580-063

                                                                          Lindsey Kent Springer, Pro Se
                                                                          Robert Scott Williams, Standby Counsel
                                                                          Defendant's Attorney
THE DEFENDANT:
[]   pleaded guilty to count(s)
[]   pleaded nolo contendere to count(s)
     which was accepted by the court.
[x] was found gUilty on counts           One, Two, Three, Four, Five, and Six of the Indictment
    after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:

Title & Section                     Nature of Offense                                                      Offense Ended               Count
18 U.S.C. § 371                     Conspiracy to Defraud the United States                                   1115/09                    1
26 U.S.C. § 7201                    Tax Evasion                                                               1115/09                    2
26 U.S.C. § 7201 and 18             Tax Evasion and Aiding and Abetting                                        1115/09                   3
U.S.C. § 2
26 U.S.C. § 7201 and 18             Tax Evasion and Aiding and Abetting                                        1115/09                    4
U.S.C. § 2
26 U.S.C. § 7203                  Failure to File Tax Return (Misdemeanor)                                     4/15/03                    5
26 U.S.C. § 7203                  Failure to File Tax Return (Misdemeanor)                                     4115/05                    6

       The defendant is sentenced as provided in pages 2 through           _-...:::.6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[]   The defendant has been found not guilty on count(s)
[]   Count(s)   ______________ D is                                o   are dismissed on the motion of the United States.

         It is ordered that the defendant must notifY the United States Attorney for this district within 30 days ofany change ofname, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notifY the Court and United States Attorney of material changes m economic circumstances.

                                                                          April 23, 2010




                                                                          Signature oifudge




                                                                          The Honorable Stephen P. Friot, U.S. District Judge
                                                                          Name and Title ofJudge



                                                                          Date   a~ &J; <1:0 10
               Case 4:09-cr-00043-SPF Document 337 Filed in USDC ND/OK on 04/28/10 Page 2 of 6
AO 245B        (Rev. 09/08) Judgment in Criminal Case
               Sheet 2 - Imprisonment
                                                                                                    Judgment - Page _   ....
                                                                                                                         2_    of    6
DEFENDANT:                        Lindsey Kent Springer
CASE NUMBER:                      09-CR-043-00 I-SPF


                                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:    180 months. Said tenn consists of sixty months as to each of Counts One, Two, Three, and Four, and twelve months as to
                  each ofCounts Five and Six. The tenns imposed as to Counts Four, Five, and Six shall run concurrently with each other and
                  with the tenns imposed as to Counts One, Two, and Three. The terms imposed as to Counts One, Two, and Three shall run
                  consecutively to each other.




[x]     The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends the defendant be placed in a facility as close to Tulsa, Oklahoma, as possible. The Court directs the Bureau
        of Prisons not to incarcerate the defendant with his co-defendant, Oscar Amos Stilley (USM Number 10579-062).



[x]     The defendant is remanded to the custody of the United States Marshal.


 []     The defendant shall surrender to the United States Marshal for this district:
          []     at                                     []   a.m.   []   p.m.    on
          []       as notified by the United States Marshal.

 []     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          []     before 12 noon on
          []       as notified by the United States Marshal.
          []       as notified by the Probation or Pretrial Services Office.

                                                                         RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                           to

at    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                                By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                          DEPUTY UNITED STATES MARSHAL
 AO 245B        (Rev. 09/08) Judgment in a Criminal Case
                 Case
                Sheet 3 - 4:09-cr-00043-SPF
                           Supervised Release              Document 337 Filed in USDC ND/OK on 04/28/10 Page 3 of 6
                                                                                                            Judgment-Page _ _
                                                                                                                            3 _ of             6
     DEFENDANT:                   Lindsey Kent Springer
     CASE NUMBER:                 09-CR-043-00 I-SPF
                                                              SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of: Three years. Said term consists of three years as
     to each of Counts One, Two, Three, and Four and one year as to Counts Five and Six. These terms of supervised release shall run concurrently,
     each with the others.

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
     of the Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as determined by the court.
     []    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse, but authority to administer drug testing for cause is retained. (Check, if applicable.)
     [x]   The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
     [x]   The defendant shall cooperate in the collection of DNA as directed by the probation offIcer. (Check, if applicable.)
     []    The defendant shall comply with the requirements of the Sex Offender Registration and NotifIcation Act (42 U.S.c. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prison, or any state sex offender registration agency in which he or slie resides, works,
           or is a student, or was convicted of a qualifying offense. (Check, if applicable.)
     []    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

             If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
1.          The defendant shall not leave the judicial district or other specifIed geographic area without the permission of the court or probation
            officer.
2.          The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and complete
            written report within the fIrst fIve days of each month.
3.          The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.          The defendant shall support the defendant's dependents and meet other family responsibilities (including, but not limited to, complying
            with the terms of any court order or administrative process pursuant to the law of a state, the District of Columbia, or any other
            possession or territory of the United States requiring payments by the defendant for the support and maintenance of any child or of a
            child and the parent with whom the child is living).
5.          The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
            acceptable reasons.
6.          The defendant shall notify the probation officer at least ten days prior to any change of residence or employment.
7.          The defendant shall refram from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.
8.          The defendant sha11 not frequent places where controlled substances are illegally sold, used, distributed, or administered, or other
            places specifIed by the court.
9.          The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a
            felony unless granted permission to do so by the probation officer.
10.         The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confIscation of
            any contraband observed in plain view by the probation officer.
11.         The defendant shall notify die probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer.
12.         The defendant shall not enter into any agreement to act as an mformer or a special agent of a law enforcement agency without the
            permission of the court.
13.         As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics, and shall permit the probation officer to make such notifIcations and to confIrm the
            defendant s compliance with such notifIcation requirement (any objection to such notifIcation shall be decided by the district court).
14.         The defendant sliall pay the special assessment imposed or adhere to a court-ordered installment schedule for the payment of the
            special assessment.
15.         The defendant shall notify the probation officer of any material change in the defendant's economic circumstances that might affect the
            defendant's ability to pay any unpaid amount of restitution, fmes, or special assessments.
     A0245B       (Rev. 09/08) Judgment in a Criminal Case
                Case
                  Sheet 4:09-cr-00043-SPF
                        3C - Supervised Release Document 337 Filed in USDC ND/OK on 04/28/10 Page 4 of 6
                                                                                                                  Judgment-Page _..;:;.4_ of             6
     DEFENDANT:                    Lindsey Kent Springer
     CASE NUMBER:                  09-CR-043-00 I-SPF
                                              SPECIAL CONDITIONS OF SUPERVISION
 1.       The defendant shall submit his person, residence, office or vehicle to a search, conducted by the United States Probation Officer at a reasonable
          time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to
          submit to a search mal' be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches
          pursuant to this conditIOn.
2.        The defendant shall abide by the "Special Financial Conditions" previously adopted by the Court, as follows:
           1.       The defendant shall maintain a checking account in the defendant's name and deposit into this account all income, mone~ gains or
                    other pecuni~ proceeds, and make use ofthis account for payment ofall personal expenses. All other bank accounts must be disclosed
                    to the probatton officer.
          2.        The defendant shall not make application for any loan or enter into any credit arrangement, without first consulting with the probation
                    officer.
          3.        The defendant shall disclose all assets and liabilities to the probation officer. The defendant shall not transfer, sell, give-away, or
                    otherwise convey any asset, without first consulting with the probation officer.
          4.        If the defendant owns or maintains interest in any profit or nonprofit entity, you shall, upon reques1 surrender and/or make available
                    for review, any and all documents and records of said profit or nonprofit entity to the probation ofncer.
          5.        The defendant shall, upon request of the probation officer, complete a personal financial affidavit and authorize release of any and all
                    financial information, to include income and tax return records, By execution ofa Release ofFinancial Information form, or by any other
                    appropnate means.
3.        The defendant shall abide by the "Special Computer Restriction Conditions" previously adopted by the Court, as follows:
          1.        The defendant shall disclose all e-mail accounts, Internet connections and Internet connection devices, including screen names and
                    passwords, to the probation officer; and shall immediately advise the probation officer of any changes in his or ner e-mail accounts,
                    connections, devices, or passwords.
          2.        The probation officer shall have authority to monitor all computer activity, to include all e-mail or Internet connections, to include but
                    not hmited to installation ofremote monitoring software. Unless waived by the probation officer, the cost ofremote monitoring software
                    shall be paid by the defendant.
          3.        The defendant shall not access anyon-line service using an alias, or access anyon-line service using the Internet account, name; or
                    desig~ation ofanother person or entity; and report immediately to the probation officer access to any Internet site containing prohibited
                    matenal.
          4.        The defendant is pr~hi~ited from using any form ofencryption cryptograph¥, stenography, compression, password-protected files or
                    other methods that hmlt access to, or change the appearance 01,J data andfor Images.
          5.        The defendant is erohibited from altering or destroying records of computer use, including the use of software or functions designed
                    to alter, clean or ' wipe"computer media, block monitoring software, or restore a computer to a previous state.
          6.        If instructed, the defendant shall provide all personal and business telephone records and credit card statements to the probation officer
4.        While on supervision, the defendant shall cooperate with the IRS in preparing and filing true and correct income tax returns for any tax years since
          1987 for wlilch the defendant has not filed a tax return; coo~rate witli the IRS in civiJ proceedings to determine accurately his tax liabilities for
          the same years; establish a payment schedule with the IRS and pay all taxes, interest, and penalties owed in connection with his tax debt according
          to the payment schedule set by the IRS.
5.        The defendant shall not engage in any activity that would constitute the unauthorized or unlicensed practice of law, nor provide representation
          or services of any kind advice, suggestions, or recommendations, whether paid or not, to any' person or entity, public or private other than
          immediate family members, with respect to any matter relating to federal or state taxation. The aefendant will maintain no website that refers to
          anX matter relating to federal or state taxation. The defendant will post no material of any kind on any website that refers to any matter relating
          to federal or state taxation. The defendant will not file l without the expressed written permission ofthe Probation Office, any ciVil action relating
          to federal income tax. Further, the defendant is prohioited from engaging in any activities in or under the name of Bondage Breakers Ministry.
6.        The defendant shall not work directly or indirect1.Y. in any business, profession, or self-employment engag,ed in the offer sale, purchase, trade,
          brokering, solicitation, or similar transactions With respect to any real property, securities or negotiaBle Instruments. The defendant will not
          engage in telemarketing activities; to include any' telephone sales or other such Business, campaign, venture, or transaction. The defendant shall
          mal!"!tai~ employment. All emplO)'l1}ent must b~ a;pproved in advance by the Probation Officer. The defendant shall abide by electronic
          momtonng, curfew reqUIrements, and travel restnctlons.
7.        If instructed by the Probation Officer, the defendant shall provide originals or cOl!ies of all personal and business telephone phone records and
          all credit card, checking account and PayPal statements to the U.S. Probation Officer.
8.        The defendant shall report to the Probation Officer the particulars, as specified by the Probation Officer, of all transactions consummated with
          a check cashing service. These reports shall be made within 10 calendar (lays after completion ofany such transaction. The defendant shall refrain
          from transacting business with any check cashing service if so directed by the Probation Officer.
9.        The defendant shall disclose all email accounts.PayPalaccounts.internetConnectionsandcommunicationdevis~s.. toinclude all screen names
          and passwords. Your use of email, internet connections, or an mternet connection service will be restricted anilior monitored by monitoring
          softWare and otherwise, with the costs of remote computer monitoring to be paid by the defendant. The defendant will be prohibited from
          accessing anyon-line service using an alias or the internet account, name or designation or another person or entity. The defendant will be
          prohibitea from altering or using any form ofencryption or other methods that limit access to, or change, the appearance of data or images. The
          defendant will be prohibited from altering or destroying records of computer use.
AO 2458           (Rev. 09/08) Judgment in a Criminal Case
                  Case
                  Sheet 5 4:09-cr-00043-SPF
                            Criminal Monetary Penalties    Document 337 Filed in USDC ND/OK on 04/28/10 Page 5 of 6
                                                                                                                                         Judgment - Page       5        of
 DEFENDANT:                                  Lindsey Kent Springer
 CASE NUMBER:                                09-CR-043-00 I-SPF
                                                           CRIMINAL MONETARY PENALTIES
             The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                               Assessment                                                                Fine                                  Restitution
 TOTALS                    $ 450                                                                        $ N/A                               $ 771,529
                               (Counts On~ TwohThree,
                               and Four $luO eac ; Counts
                               Five and Six $25 each)
     []      The determination of restitution is deferred until                    _ _ _ _ _,. An Amended Judgment in a Criminal Case (AO 245C) will be
             entered after such determination.

     [xl     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

             If the defendant makes a p,!ll1ial payment, each pl!yee shall receive an approximately proportioned paymentl- unless Ilpecified otherwise in the priority order or percentage
             payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid beIore the United States is paid.

Name of Payee                                                 Total Loss*                                          Restitution Ordered                     Priority or Percentage
IRS-RACS                                                                                                                $ 691,343
Attention: Mail Stop 6261
Restitution
333 West Pershing Ave.
Kansas City, Missouri 64108

Oklahoma Tax Commission                                                                                                 $   80,186
General Counsels Office
120 North Robinson
Suite2000W
Oklahoma City, Oklahoma
73102
Attn: Marjorie Welch




TOTALS                                         $                                         o               $                  771,529


[]         Restitution amount ordered pursuant to plea agreement $

[]         The defendant must pay interest on restitution and a fine ofmore than $2,500, unless the restitution or fine is paid in full before the
           fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(t). All ofthe payment options on Sheet 6 may be subject
           to penalties fur delinquency and default, pursuant to 18 U.S.c. § 3612(g).

[]         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            []   the interest requirement is waived for the                   I]        fine       [J        restitution.

            []   the interest requirement for the                 [J   fine        []        restitution is modified as follows:



* Fi!ldings for the total amount of losses are required under Chapters 109A, I10, II OA, and I13A ofTitle 18 for offenses committed on or after September 13, 1994, but before
ApnI23,1996.
AD 245B        (Rev. 09/08) Judgment in a Criminal Case
               Case
               Sheet 6 - 4:09-cr-00043-SPF
                          Schedule of Payments Document 337 Filed in USDC ND/OK on 04/28/10 Page 6 of 6
                                                                                                             Judgment - Page   _~6_    of
DEFENDANT:                      Lindsey Kent Springer
CASE NUMBER:                    09-CR-043-00 I-SPF
                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties are due as follows:

 A        []    Lump sum payment of$ _ _ _ _ _ _ _ due immediately, balance due

                 o    not later than _ _ _ _ _ _ _ _ __ , or
                 []   in accordance with [] C,   [J D, [J    E,or                  [] F below; or

 B        []    Payment to begin immediately (may be combined with            II   C,   [] D, or      I]   F below); or

 C        []    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
               _ _ _ _ _ (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date ofthis judgment; or

 D        []    Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                    over a period of
               _ _~__ (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

 E        []    Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     [x] Special instructions regarding the payment of criminal monetary penalties:
                Any criminal monetary penalty is due in full immediately, but payable on a schedule ofthe greater of$25 quarterly or 50% ofincome
                pursuant to the Federal Bureau ofPrlsons' Inmate Financial Responsibility Program while in prison. Ifa monetary balance remains,
                payment is to commence no later than 60 days following release from imprisonment to a term ofsupervised release in equal monthly
                payments of$lOO or 10% of net income (take home pay), whichever is greater, over the duration ofthe term of supervised release
                ana thereafter as prescribed by law for as long as some debt remains. Notwithstanding establishment of a payment schedule, nothing
                shall prohibit the United States from executing or levying upon property of the defenoant discovered before or after the date of this
                Judgment.




 Unless the court has expresslr ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone!m:Y penalties is due during
 imprisonment. All cnmina monetary penaltie; except those payments made throUgh the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk or the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  [J   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 []    The defendant shall pay the cost of prosecution.
 £]    The defendant shall pay the following court cost(s):
 o     The defendant shall forfeit the defendant's interest in the following property to the United States:


 Pa)'I!lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
